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IN THE UNITED STATES DISTALET. COURT __
FORTHE MYTDDLE DESTRLOT oF. PENNSYLVANT

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AN AMENDED COMPLAINT

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